                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION

                                   Case No. 7:97-CR-00063-M


 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )
                                                  )                      ORDER
 V.                                               )
                                                  )
 TAMARA LLAMAS, and                               )
 JIMMY RAY WAKEFIELD,                             )
                                                  )
        Defendants.                               )


       This matter comes before the court sua sponte. Pursuant to Rule 36 of the Federal Rules

of Criminal Procedure, the court corrects clerical errors in the Judgments entered against

Defendants Tamara Llamas [DE 177] and Jimmy Ray Wakefield [DE 179] by the Honorable

Malcolm J. Howard, who presided over the sentencing hearings for both Defendants. Judge

Howard' s oral judgment stated the following:

       It is ordered that twenty-five percent (25%) of all future earnings or income or
       rewards presently or hereinafter received; and from whatever source, and from
       wheresoever collected, during the lifetime of this Defendant be provided to the
       three children of the victim - share and share alike. Their names shall appear in the
       judgement with their present address subject to being updated. Now, the Court finds
       that the Defendant does not have the ability to pay a fine in addition to these priority
       restitution orders, therefore no fine is imposed. Payment of the restitution as stated
       by the Court is due in full immediately, and the Court specifically finds that the
       order of 25% of all future earnings, rewards, or income is a restitution amount, and
       will be so noted in the judgement.




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Sentencing Hrg. Tr., 51: 6-21 , DE 273. 1 This was transcribed to the written Judgments, under the

penalty section of the Judgments, as:

       *THE COURT FURTHER ORDERS THAT 25% OF ALL FUTURE
       MONETARY RECEIPTS OF THE DEFENDANT FROM WHATEVER
       SOURCE THAT BEING REWARDS, INCOME, EARNINGS BE
       DISTRIBUTED AMONG THE CHILDREN OF THE VICTIM/DECEDENT
       SHARE AND SHARE ALIKE. THESE FUNDS SHALL BE FORWARDED TO
       AMELIA K. EDWARDS AT 1211 LIVE OAK COURT, SURF SIDE BEACH,
       S.C. 29575 . THIS RESTITUTION SHALL BE DIVIDED EQUALLY AMONG
       AMELIA K. EDWARDS, 1211 LIVE OAK COURT, SURF SIDE BEACH,
       SOUTH CAROLINA 19675, DANIEL BRYAN EDWARDS, 4219 RICHLANDS
       HWY, JACKSONVILLE, NORTH CAROLINA 28540 AND BRANDON JACOB
       EDWRDS, 4219 RICHLANDS HWY, JACKSONVILLE, NORTH CAROLINA
       28540.

Llamas J., DE 177 at 4; see also Wakefield J., DE 179 at 3 ("*THE COURT FURTHER ORDERS

THAT 25% of all future monetary receipts of the defendant from whatever source that being

rewards. income, earnings be distribute[ d] among the children of the victim/decedent share and

share alike[ ... ] these funds shall be[ ... ]."). These transcribed statements should have appeared in

the restitution sections of the Judgments. See DE 177 at 7; DE 179 at 6. This order clarifies that

the restitution judgments entered by Judge Howard were, and remain, orders of restitution that

shall be enforced according to their terms.

       In addition to the parties, the Clerk of the Court shall provide copies of this order to any

agency, facility, or individual necessary to ensure the facilitation of Judge Howard' s order. Any

agency or institution collecting this restitution shall, as with criminal debts collected through the

Bureau of Prisons Inmate Financial Responsibility Program (IFRP), forward collected funds to the




1The transcript reflects Judge Howard's order issued during Tamara Llamas' sentencing hearing.
The record does not include a copy of a written transcript of Jimmy Ray Wakefield's sentencing
hearing; however, court records indicate that Judge Howard imposed the same restitution order
against Mr. Wakefield.
                                                   2

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court for further disbursement to the aforementioned victims. Any such payments sent via mail

should be made payable to "Clerk, U.S. District Court" and sent to the following address:


       Clerk, U.S. District Court
       PO Box 25670
       Raleigh, NC 27611


       SO ORDERED this        2     J   day of December, 2021.




                                            ~ £ /Vl14NJ~
                                               RICHARD E. MYERS II
                                               CHIEF UNITED STATES DISTRICT JUDGE




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